        Case 1:25-cv-00409-BAH          Document 7       Filed 03/17/25     Page 1 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                       )
 AMERICAN OVERSIGHT,                   )
                                       )
                            Plaintiff, )
                                       )
 v.                                    )                 Case No. 1:25-cv-00409-BAH
                                       )
 U.S. DEPARTMENT OF GOVERNMENTAL       )
 EFFICIENCY et al.,                    )
                                       )
                          Defendants. )
                                       )


                         NOTICE OF FILING PROOF OF SERVICE

       Plaintiff American Oversight, through undersigned counsel, respectfully submits the

attached Declaration of Service as proof that service of process was effected on the U.S. Attorney

for the District of Columbia, U.S. Attorney General, U.S. Department of Government Efficiency

(“DOGE”), U.S. DOGE Service, U.S. DOGE Service Temporary Organization, U.S. Digital

Service, and the Office of Management and Budget in the above-captioned matter on February 18,

2025, and service of the Amended Complaint was effected on March 6, 2025.


 Dated: March 17, 2025
                                                  /s/ Elizabeth Haddix
                                                  Elizabeth Haddix
                                                  D.C. Bar No. 90019750
                                                  David Kronig
                                                  D.C. Bar No. 1030649
                                                  AMERICAN OVERSIGHT
                                                  1030 15th Street NW, B255
                                                  Washington, DC 20005
                                                  (202) 869-5246
                                                  Elizabeth.haddix@americanoversight.org

                                                  Counsel for Plaintiff
        Case 1:25-cv-00409-BAH          Document 7       Filed 03/17/25      Page 2 of 4




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                       )
 AMERICAN OVERSIGHT,                   )
                                       )
                            Plaintiff, )
                                       )
 v.                                    )                 Case No. 25-cv-00409-BAH
                                       )
 U.S. DEPARTMENT OF GOVERNMENTAL       )
 EFFICIENCY et al.,                    )
                                       )
                          Defendants. )
                                       )


                               DECLARATION OF SERVICE

       I, Marwah Adhoob, hereby declare as follows:

       1.      I am employed as Paralegal at American Oversight.

       2.      On February 11, 2025, American Oversight initiated the above-captioned matter

in the U.S. District Court for the District of Columbia. On February 13, 2025, the Court issued

all summonses for service. On February 18, 2025, I served the summonses and copies of the

complaint and exhibits on Defendants as follows:

            a. I emailed copies of the summonses, complaint and exhibits to the U.S. Attorney

               for the District of Columbia at USADC-ServiceCivil@usa.doj.gov. As required

               by the instructions from the U.S. Attorney for the District of Columbia, available

               at https://www.justice.gov/usao-dc/civil-division, my email included the suit

               caption and court-assigned docket number in the email’s subject line and attached

               the summonses, complaint and exhibits as a single, combined PDF. See attached

               Exhibit 1.


                                                2
        Case 1:25-cv-00409-BAH          Document 7       Filed 03/17/25      Page 3 of 4




            b. I sent copies of the summonses, complaint and exhibits via certified U.S. Mail

               return-receipt requested to the U.S. Attorney General (see attached Exhibit 2) and

               to Defendants U.S. DOGE, U.S. DOGE Service, U.S. DOGE Service Temporary

               Organization, U.S. Digital Service and the Office of Management and Budget

               Service (see attached combined Exhibit 2A).

       3.      On March 6, 2025, I served copies of the Amended Complaint and Exhibits A

through P on Defendants as follows:

            a. I emailed copies of the Amended Complaint and Exhibits A through P to the U.S.

               Attorney for the District of Columbia at USADC-ServiceCivil@usa.doj.gov. As

               required by the instructions from the U.S. Attorney for the District of Columbia,

               available at https://www.justice.gov/usao-dc/civil-division, my email included the

               suit caption and court-assigned docket number in the email’s subject line and a

               copy of the Amended Complaint and Exhibits A-P as a single, combined PDF

               attachment measuring 1.6 megabytes. See attached Exhibit 3.

            b. I sent copies of the Amended Complaint and Exhibits A-P via certified U.S. Mail

               return-receipt requested to the Defendants U.S. DOGE, U.S. DOGE Service, U.S.

               Digital Service, the Office of Management and Budget Service, and the U.S.

               Attorney General. See U.S. Postal Service Tracking documents, attached as

               Exhibits 4 through 8, respectively.

       4.      I sent a copy of the Amended Complaint and Exhibits A-P to Defendant U.S.

DOGE Service Temporary Organization via certified U.S. Mail, return-receipt requested on

March 14, 2025. See U.S. Postal Tracking document, attached as Exhibit 9.




                                                3
        Case 1:25-cv-00409-BAH           Document 7       Filed 03/17/25     Page 4 of 4




        5.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.



Dated: March 17, 2025                                           __
                                                     Marwah Adhoob




                                                 4
